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SO ORDERED.
SIGNED this 3rd day of March, 2022


THIS ORDER HAS BEEN ENTERED ON THE DOCKET.
PLEASE SEE DOCKET FOR ENTRY DATE.




   _____________________________________________________________




                        IN THE UNITED STATES BANKRUPTCY COURT
                         FOR THE EASTERN DISTRICT OF TENNESSEE
                            NORTHERN DIVISION AT KNOXVILLE
   IN RE:

            ALBERTUS JOHANNES VAN ZYL                          Case No. 3:21-BK-31590-SHB
                                                                     Chapter 7


                          Debtor.


                AGREED ORDER ON TRUSTEE’S OBJECTION TO EXEMPTIONS
            The Trustee filed an objection to the Debtor’s claimed exemptions pursuant to Fed. R. Bank.

   P. 4003 [Doc. 14]. The primary objection of the Trustee was the use of Federal exemptions, as the

   Trustee claimed that the Debtor had resided long enough in Tennessee to require use of state

   exemptions. At a hearing on Thursday, February 24, 2022 the Trustee and the Debtor announced

   that they had reached an agreement to settle this dispute over the exemptions. Specifically, the

   parties have agreed that the matter shall be resolved by the Debtor paying the Trustee $2,800 in

   installments of $250.00 per month, with the first payment due on or before April 1, 2022. The

   Debtor has agreed to execute a promissory note in accordance with this settlement. The amount
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agreed to by the parties represents the amount the Debtor would be over in his exemptions if the

Tennessee state exemptions were applied.

                                               ###




                                 APPROVED FOR ENTRY:

 /s/ Ryan E. Jarrard
Ryan E. Jarrard, BPR No. 024525
Chapter 7 Trustee
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